PRoB.12
lRev- SlSBCaSe 2: 04- --cr 20112- .]PI\/| Document 252 Filed 08/05/05 Page 1 of 5 Page|D 372

UNITED S'I`ATES DISTRIC'I` COURT

 

  

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for
05 AUG '5 AH lU= hit
wEsTERN DlsTRICT oF TENNESSEE TN% v
wild
U.s.A. vs. MIRANDA TUGGLE pocket No. 2.0401`12011§-6§‘5

 

Petition on Probation and Supervised Release

C()MES NOW NICOLE D. PETERSON , PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Miranda Tuggle who was placed on supervision by the
Honorable Jon Phipps McCalla sitting in the Court at Memphis, TN , on the _¢l_ttl_ day of November , 2004, who
fixed the period of supervision at three § 3 1 years , and imposed the general terms and conditions thereto fore adopted
by the Court and also imposed special conditions and terms as follows:

l. The defendant shall participate in mental health/drug treatment as directed by the Probation OUce.
(*Added by Amendmcnt April 6, 2005.)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(lf short insert here; if lengthy write on separate sheet and attaeh)

SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER that a SUMMONS be issued for Miranda Tuggle to appear
before the Court to answer charges of Probation violation.

 

 

 

()RDER OF COURT l declare under penalty of perjury that the
Foregoing is true and correct
Consi§ered and ordered this l day
of °“ , 209 § , and ordered filed Executed
and a part of the records in the above on 3 uL-~( .`llp, .lr)o-l
case
M[)W @QQ arises/stem
U. S. Probation OHicer
C_Fm/tei/States District Judge
Place /WMFH/s T/Lj

 

This document entered on the docket zeetl' compliance
Witb Huie 55 and/or 32( (b) FHCrP on

515/3

RE: M§a §§ eggl&g(-:Ml]|?_ci)ejument 252 Filed 08/05/05 Page 2 of 5 Page|D 373

Page 2

RESPECTFULLY PRESENTING PETITION F()R ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant has violated the following conditions of her Prohation:

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled substance, or any paraphernalia related to such snbstances, except
as prescribed by a physician, and shall submit to periodic urinalysis tests as directed by the probation officer
to determine the usc of any controlled substance.

On at least five occasions, Ms. Tuggle has failed to submit to or report for drug testing as directed.

On March 29, 2005, Ms. Tuggle signed an admission indicating that she had smoked marijuana laced with cocaine
approximately three weeks prior.

Ms. Tuggle tested positive for cocaine on January 29, Mareh 29, and April 21, 2005.

The defendant shall report to the probation officer and shall submit a truthful and complete written report
within the first live (5) days of the month.

On at least nine occasions, Ms. Tuggle failed to submit Monthly Report Form within the first five (5) days of the
month.

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer.

On at least nine occasions, Ms. Tuggle has been instructed to report for numerous office visits and failed to do so.
The defendant shall participate in mental health/drug treatment as directed by the probation office.

On June 8, 2005, Ms. Tuggle was discharged from drug treatment with Dr. Janet Scott for not attending individual
sessions, not providing drug screens, for continued drug use, and for not coming to her sessions on time.

Case 2:O4-cr-20ll2-.]PI\/| Q&ip[n£[}tl§§ `$M§Qi{&§` Page 3 of 5 Page|D 374

Defendant Miranda Tug_g|e, 660 Benham, Memphis, TN 38127

 

 

Docket Number (Year-Sequence-Defendant No.) 2:04CR20112-03

 

Districthftice Western District of Tennessee

 

Ori|inalSentence Date 11 lm§__l 2004

month day year

Original District!Oflice

 

Original Docket Number (Year-Sequence-Defendant No.)

 

List each violation and determine the applicable grade {Y§ §TB'M}:

Vio|ationlsl Grade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Drug uselfai|ure to submit to urinalysis as directed C
Fai|ure to submit monthly report forms as directed. C
Failure to report to USPO as directed C
Failure to participate in drug treatment as directed C
8. Most Serious Grade of Violation (_s__eg §7B1.1(b)) C
9. Crimina| History Category (W §7B1.4(a))74
‘llJ. Range of imprisonment (§g_e §7B1.4(a)} 3~9 months
Statutory Maximum: 120 months
1‘l. Sentencing Options for Grade B and C Violations On|y (Check the appropriate box):
{x} (a)lf the minimum term of imprisonment determined under §7B1.4 (Term of lmprisonment) is at least one month but not more
than six months, §781.3©)(1) provides sentencing options to imprisonment
{ } (b)|f the minimum term of imprisonment determined under §7B'l.4 (Tenn of |mprisonment) is more than six months but not
more than ten months, §7B1.3©)(2) provides sentencing options to imprisonment
{ } ©)if the minimum term of imprisonment determined under §7B1.4 (Term of lmprisonment) is more than ten months, no

sentencing options to imprisonment are available

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DEFENDANT: Miranda Tuggle

 

12. Unsatislied Conditions of Original Sentence

List any restitution line, community conlinement, home detention, or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {see §7Bi .3(d)}:

 

 

 

 

Restitutlon ($) Community Confrnement

Fine ($) l-iome Detention

Other intermittent Continement
13. Supervised Release

lf probation is to be revoked. determine the |ength, if any, of the term of supervised release according to the provisions of §§5D1.1-

1-3{Y§ §§751.3(9)(1)}-

Term: to years

lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment imposable
upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {B 18 U.S.C. §3583(e) and §7B1.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

15. Oflicial Detention Adjustment {E §731.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsy|vania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

   

UNITED `SATES DISTRIC COURT - WESTERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 252 in
case 2:04-CR-20112 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Honorable J on McCalla
US DISTRICT COURT

